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February 22, 2021


Via ECF

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       We represent the defendant, Stephen M. Calk, in the above-captioned action. We have
received a copy of the Motion to Quash and/or Modify a Grand Jury Subpoena submitted to
Your Honor’s chambers this morning on behalf of Lieutenant General Randall Rigby.

        On their face, the facts recited in the motion strongly indicate that the government is
abusing the grand jury process in an indicted case in order to compel an interview with a
potential trial witness. The defense respectfully requests that the Court set a briefing schedule on
the motion that permits the defense an opportunity to be heard on this issue.


Respectfully submitted,

/s/ Paul H. Schoeman

Paul H. Schoeman
Darren A. LaVerne

cc:       All counsel (via ECF)




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